1    LAW OFFICES OF ARMANDO VILLAPUDUA
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     LEONEL VALDEZ AYON
6

7                           IN THE UNITED STATES DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT of CALIFORNIA
9
                                                   ) Case No.: 15-CR-00131TLN
10   UNITED STATES OF AMERICA,                     )
                                                   ) STIPULATION AND ORDER TO
11                 Plaintiff,                      ) CONTINUE SENTENCING HEARING
                                                   )
12          vs.                                    )
                                                   )
13   LEONEL VALDEZ AYON,                           )
                                                   )
14                 Defendant                       )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE TROY L.
16   NUNLEY AND SAMUEL WONG, ASSISTANT UNITED STATES ATTORNEY:
17          COMES NOW Defendant, LEONEL VALDEZ AYON, by and through his attorney of
18   record, ARMANDO VILLAPADUA hereby requesting that the sentencing hearing currently set
19   for Thursday, September 8, 2016 be continued to Thursday, October 20, 2016.
20          I recently met with United States Probation Officer Anthony Andrews in the matter of
21   U.S. v. Leonel Valdez Ayon for a presentencing investigation report interview. I have been
22   informed that objections are due on August 11, 2016. I have a pre-paid vacation from August
23   11, 2016- September 2, 2016 out of the country. USPO Andrews has informed me that he has a
24   heavy workload and has no objection to continuing the sentencing hearing.
25




                    Stipulation and Proposed Order to Continue Sentencing

                                                    1
1            I have spoken to AUSA Samuel Wong, and he has no objection to continuing the

2    sentencing hearing. We are proposing the following schedule:

3           September 1, 2016: Draft of Pre-Sentence Report due

4           September 15, 2016: Informal Objections due

5           September 22, 2016: Final Pre-Sentence Report due

6           October 6, 2016: Formal Objections

7           October 13, 2016: Response to Formal Objections and Sentencing Memorandums

8           October 20, 2016: Sentencing Hearing

9

10          The parties also agree the delays resulting from the continuance shall be excluded in the

11   interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).

12           IT IS SO STIPULATED.

13                                                               Respectfully Submitted,

14   DATED: 7/19/2016                                            /s/ Armando Villapadua           ___
                                                                 ARMANDO VILLAPADUA
15                                                               Attorney for Defendant
                                                                 LEONEL VALDEZ AYON
16

17
     DATED:                                                      /s/ Samuel Wong____ ________
18                                                               SAMULEL WONG
                                                                 Assistant U.S. Attorney
19

20
                                                ORDER
21

22
            IT IS SO ORDERED that the sentencing hearing be continued to October 20, 2016.
23

24
     Dated: July 22, 2016                        _______________________________
25                                               UNITED STATES DISTRICT JUDGE



                    Stipulation and Proposed Order to Continue Sentencing

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